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                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF WISCONSIN


In the Matter of:                                           In Bankruptcy No.
                                                               20-13006-cjf
MAPLE LEAF CHEESE COOPERATIVE,                                  Chapter 11

                 Debtor.
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MAPLE LEAF CHEESE COOPERATIVE,
et al.,

                         Plaintiffs,              Adversary Proceeding No. 21-00039

v.

MAPLE LEAF CHEESEMAKERS, INC.,

                         Defendant.


                                NOTICE OF APPEARANCE



       PLEASE TAKE NOTICE that Timothy M. Hansen of Hansen Reynolds LLC has

been retained by and appears for Plaintiff, Maple Leaf Cheese Cooperative in the above

proceeding and demands a copy of all pleadings, papers and documents filed herein be served

upon him at the below address.

Dated this 15th day of July, 2022.               HANSEN REYNOLDS LLC

                                             By: Electronically signed by Timothy M. Hansen
                                                Timothy M. Hansen, SBN: 1044430
                                                thansen@hansenreynolds.com
                                                Hansen Reynolds LLC
                                                301 N. Broadway, Suite 400
                                                Milwaukee, WI 53202
                                                Ph: 414-455-7676

                                                Attorneys for Plaintiff
